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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MONTANA
                                 MISSOULA DIVISION


 UNITED STATES OF AMERICA,                            CR 16-15-M-DLC

                         Plaintiff,
                                                    DEFENDANT’S REPLY TO
 v.                                              GOVERNMENT’S RESPONSE TO
                                                   DEFENDANT’S MOTION TO
 STEVE ALAN BRITTNER,                            REDUCE SENTENCE PURSUANT
                                                   TO 18 U.S.C. §3582(c)(1)(A)(i)
                       Defendant.


                                      I. INTRODUCTION

          Defendant Steve Alan Brittner (Mr. Brittner) filed a motion for compassionate

release and brief in support thereof. (ECF No. 79-80). The government responded.

(ECF No. 81). Mr. Brittner stands on his arguments as indicated in his initial briefing

and replies to the government’s contentions.



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                               II. REPLY ARGUMENTS

         The government’s argument against this Court exercising its discretion in

granting Mr. Brittner’s motion for compassionate release can be summed up as

follows: Mr. Brittner is not dying enough to warrant release. (See ECF No. 81 at

pages 5-7). The government would prefer that Mr. Brittner—a non-violent offender

who has served almost the entirety of his sentence for a drug conviction—die alone

in prison. Such an argument cannot stand nor does it coincide with the premise for

changing how compassionate release motions are pursued according to the First Step

Act.

         United States Sentencing Guideline §1B1.13 indicates in Comment Note

1(A)(i) that an extraordinary and compelling reason for granting compassionate

release includes where a defendant has a terminal illness–meaning the defendant has

a “serious and advanced illness with an end of life trajectory.” The comment note

then provides examples, to include “metastatic solid-tumor cancer, amyotrophic

lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.” USSG

§1B1.13, cmt n.1(A)(i).

         As with other examples provided throughout the comments in the advisory

sentencing guidelines, the list provided is not exhaustive. See United States v.

Lambert, 498 F.3d 963 (9th Cir. 2007). Moreover, according to the government’s

argument, only prisoners dying of malignant tumors that have metastasized should
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be granted compassionate release. Not only does that argument fail to account for

the fact people die from tumors without those tumors metastasizing, but more

importantly that argument fails to account for the fact Mr. Brittner’s malignant brain

neuroplasm is “a serious and advanced illness with an end of life trajectory.”

Case-in-point, if it was not serious or advanced, Mr. Brittner would not be housed

in the Federal Medical Facility on the fifth floor of the facility surrounded by other

prisoners who die weekly. Nor would his doctor continue to indicate how poor Mr.

Brittner’s prognosis is or how his condition worsens.

         The comment note specifically indicates that, to qualify as a terminal illness,

a “specific prognosis of life expectancy” is not required. Yet, the government’s

argument that Mr. Brittner’s brain tumor is not cancerous enough suggests that the

government expects this Court only to grant compassionate release motions for those

prisoners who have just weeks to live. That is not why the First Step Act changed

the procedure for compassionate release, nor should any prisoner in Mr. Brittner’s

condition be told he is not sick enough to die around his family.

         Again, the doctor’s notes indicate that Mr. Brittner’s condition continues to

worsen. He becomes weaker by the day. That Mr. Brittner has chosen not to say

“yes” to hospice care yet should not be this Court’s deciding factor. Mr. Brittner is

holding on to hope that he can and will see his family again before he dies. The

government’s argument that Mr. Brittner has “not provided evidence as to whether
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he is currently in hospice care, what that entails, and whether his prognosis has

improved or worsened” (ECF No. 81 at page 6) (1) defies the very definition of

hospice care1; and (2) begs the question whether, had Mr. Brittner said “yes” to the

doctor’s question about hospice care in November 2018, the government would be

making the same argument it has to date.

         Mr. Brittner poses no risk to anyone. He just wants to be able to be surrounded

by his loved ones during his final days. This Court has the authority to grant Mr.

Brittner’s motion, and Mr. Brittner submits he has provided the legal support for this

Court to exercise such authority.

                                  III. CONCLUSION

         For the foregoing reasons, Mr. Brittner respectfully requests that this Court

grant reduction in sentence to time served and amend the conditions of supervised

release to accommodate the release plan as articulated in his initial briefing.

         RESPECTFULLY SUBMITTED this 7th day of March, 2019.

                                                      /s/ Joslyn Hunt
                                                      JOSLYN HUNT
                                                      Assistant Federal Defender
                                                      Counsel for Defendant




1
  “Hospice care: Care designed to give supportive care to people in the final phase
of a terminal illness and focus on comfort and quality of life, rather than cure.”
https://www.medicinenet.com/script/main/art.asp?articlekey=24267.
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                               IV. CERTIFICATE OF COMPLIANCE

         I hereby certify that this Brief is in compliance with Local Rule 7.1(d)(2)(as

amended). The brief’s line spacing is double spaced, and is proportionately spaced,

with a 14-point font size and contains less than 6,500 words. (Total number of words:

709 excluding tables and certificates).

         DATED this 7th day of March, 2019.

                                                      By: /s/ Joslyn Hunt
                                                      JOSLYN HUNT
                                                      Federal Defenders of Montana
                                                      Counsel for Defendant




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                               V. CERTIFICATE OF SERVICE
                                        L.R. 5.2(b)

         I hereby certify that on March 7, 2019, a copy of the foregoing document was

served on the following persons by the following means:

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